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JOEL MCCABE SMITH {State sar No. 050973]

DAVID ARONOFF [State Bar NO. 125694]
LINCOLN D. BANDLOW [State Bar NO.fm

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LEOPOLD, PETRICH & SMITH

A Professional Corporation

2049 Century Park East, Suite 311 _a.n»-
Los Angeles, California 90067-32 4“3#
Tel. 310/277-3333; FaX 310/277-74 4
Attorneys for Defendant
ABERCROMBIE & FITCH

-*”_ ' cLERlc u.s.
' _-_' CENTRAL D
BY

-‘ j UNITED STATES DISTRICT

21 WESTERN DIVISION

`§$I:TV

GEORGE DOWNING, an individual;
PAUL STRAUCH, an individual; RICK
STEERE, an individual; RICHARD
(BUFFALO) KEAULANA, an

 

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individual; and BEN AIPA, an )
individual; MIKE DOYLE, an )
individual; and JOEY CABELL, an )
individual, )

)

Plaintiffs, } ISSUES

)

vs. ) Date:

) Time:
ABERCROMBIE & FITCH, an Ohio ) Ctrm:
corporation; and DOES 1 through )

50, inclusive, )
) TRIAL
Defendants. b

)

THIS CONST!T

F\S REQU\RED B`{ FRCP, RULE 77(0).

Defendant ABERCROMBIE & FITCH submi
Statement of Uncontroverted Facts and Conolus
to Rule 56 of the Fed:;§l Rules of Civil Proc

7.14. 1 as follows: Dockete

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JS-2/JS'3
CLSD

 
  

cASE No. cv 99-4612 R(Mcx)

DEFENDANT'S STATEMENT OF
UNCONTROVERTED FACTS AND
CONCLUSIONS OF LAW IN
SUPPORT OF MOTION FOR
SUMMARY JUDGMENT OR, IN THE
ALTERNATIVE, MOTION FOR
SUMMARY ADJUDICATION OF

 

§§

 

D|STR|CT COURT
'C 0F CAL|FORN|A

 

 

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February 7, 2000
10:00 a.m.

The Honorable
Manuel L. Real

DATE: March 28, 2000

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UNCONTROVERTED FACTS

Defendants have established for purposes of their Motion
for Summary Judgment or, in the Alternative, Motion for Summary

Adjudication of Issues, each of the following facts:

1. The Quarterly is published by A&F on a quarterly basis.
In addition to containing photo layouts and other information
regarding A&F fashions, the Quarterly contains substantial
editorial content, including news articles, features, interviews,
illustrations and photographs of general interest. Because A&F’s
readers tend to be high school and college students, the
Quarterly's orientation is toward news, lifestyle and humor pieces
that reflect a youthful attitude. Abasidis Decl., 11 1-4.

2. The Spring Break 1999 edition of the Quarterly ("the
Spring Edition"), which contains the Photo, was designed to
incorporate a surfing theme, and contained numerous stories,
photos, illustrations, and other editorial material dealing with
surf culture and related topics. The surfing lifestyle has a
significant influence on fashion and popular culture and is of
great interest to A&F’s readers.. Abasidis Decl. 1 5 & Ex. "A."

3. Among other items, the Spring Edition incorporated: (a)
Front and back cover photos featuring surfboards and the beach; (b)
An article entitled "Surf Nekkid," which recounts the history of
surfing from its Polynesian roots in Hawaii; (c) An article
entitled "Beachcombing" concerning the Surfrider Foundation, an
ecological group founded by surfers; (d) An illustrated feature

written by the editor of SURFER MAGAZINE entitled "Where the Wild

 

 

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Things Are," which lampooned various surfer "types"; and (e) An
interview and photo spread of surfing legend Nat Young and his son.
Abasidis Decl. 1 5 & Ex. "A."

4. In keeping with the surfing theme of the Spring Edition,
A&F also commissioned a story entitled "Your Beach Should Be This
Cool" ("the Article")r which told the surf history of "Old Man’s
Beach," located in San Onofre, California. At about the same time,
LeRoy Grannis, the well-known surf photographer, provided A&F with
several of his photographs to illustrate the Article. The first of
these photos was a color depiction of San Onofre beach, with
surfers riding waves in the background. The second was the Photo,
a black and white depiction of surfers posed on the beach with
their boards at a surfing competition.y Abasidis Decl. 1 6.

5. Because the photos provided by Mr. Grannis evoked the
colorful history of surfing in the early 1960’s, A&F found them to
be appropriate illustrations for the Article, which also focused on
the early days of surfing. In addition, the photographs also
meshed well with other features in the Spring Edition, such as the
"Surf Nekkid" article and the Nat Young interview, which likewise
dealt with the history of surfing. Accordingly, A&F drafted a
simple hand-written agreement, which Mr. Grannis signedr licensing
A&F to utilize his photographs. On the print of the Photo itself,
Mr. Grannis handwrote the names of the surfers who had posed for

his camera. Abasidis Decl. 1 7 & Ex. "B."

 

1/ The Editor of the Quarterly believed that both of these photos
were taken during a surf competition at San Onofre beach. Abasidis
Decl. 1 6. Plaintiffs contend that the Photo depicts a 1960’s surf
competition in Makaha, Hawaii. Amd. Cmpt., 1 16.

 

 

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6. To further illustrate the Article, an A&F photographer
snapped a shot of the San Onofre Beach Club sign at the entrance to
San Onofre Beach. Utilizing this shot of the Beach Club sign and
the photos supplied by Mr. Grannis, A&F then designed the layout
for the Article. In this layout, the color photo of San Onofre by
Mr. Grannis was positioned on the left page, the Article (with the
Beach Club sign inserted in the middle) was on the facing page, and
the Photo was positioned as a two page spread on the following
pages. Abasidis Decl. 1 8 & Ex. "A."

7. In preparing the layout for the Article, including the
Photo, it was not A&F’s intention to imply in any way that the
surfers depicted in the Photo endorsed A&F's fashions. To the
contrary, particularly since the Photo was over 35 years old and
seemed to be primarily of historical interest, the decision to
utilize the Photo was based on the facts that it: (a) served as an
appropriate illustration for the Article; (b) embodied the surf
culture theme of the Spring Edition; and (c) was itself a vivid
memento of the history of surfing. Abasidis Decl. 1 9.¥

8. Apart from publishing the Photo in the Spring Edition,

A&F has made no other utilization of the Photo. A&F has not

 

g/ After the Editor of the Quarterly designed the layout of the
Article, other employees of A&F observed the numbered competition
t-shirts worn by the surfers in the Photo and were inspired to
design an A&F t-shirt known as the "Final Heat Tee," which is
offered for sale in the Spring Edition on the pages following the
Photo. Plaintiffs do notr however, claim any proprietary right in
the design of these standard issue competition t-shirts.
Plaintiffs do claim that the Photo also inspired the design of A&F
swimsuits featured in the Spring Edition. However, this is untrue.
Although a few of the surfers in the Photo are wearing generic
flowered swim shorts, no A&F fashions were inspired by these
shorts. A&F had designed its flowered swim shorts before A&F had
learned of the Photo. Abasidis Decl. 1 11.

 

 

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utilized the Photo in any print or TV ads, the Photo has not been
incorporated into any in-store displays or promotional materials,
and the Photo has not been adopted as a design or logo on any of
A&F's merchandise, tags or labels. A&F completed its distribution
of the Spring Edition many months ago and is planning no additional

usages of the Photo. Abasidis Decl. 1 10.

CONCLUSIONS OF LAW

A. The Summa;y Judgment Standard.
1. In Celotex Corp. v. Catrett, 477 U.S. 317 (1986), the

Supreme Court strongly affirmed the value of summary judgment to
eliminate unmeritorious claims: "Summary judgment procedure is
properly regarded not as a disfavored procedural shortcut, but
rather as an integral part of the Federal Rules as a whole, which

are designed ‘to secure the just, speedy and inexpensive

determination of every action.'" ;g. at 327 (citations omitted}.
2. Under Rule 56, summary judgment "shall be rendered
forthwith if . . . there is no genuine issue as to any material

fact and that the moving party is entitled to a judgment as matter
of law." (Emphasis added.) "[A] party seeking summary judgment
always bears the initial responsibility of informing the district
court of the basis for its motion, and identifying [the evidence]
which it believes demonstrate[s] the absence of a genuine issue of
material fact." Celotex, sup;g, 477 U.S. at 323. Once the moving
party meets this initial burden, "Rule 55(c) mandates the entry of
summary judgment . . . against the party who fails to make a

showing sufficient to establish the existence of an element

 

 

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essential to that party's case, and on which that party will bear
the burden of proof at trial." lg. at 322 (emphasis added).

3. Where, as in the present case, Plaintiffs are unable to
muster sufficient evidence to show that genuine issues exist on
essential elements of their claims, summary judgement is regularly

granted for defendants in right of publicity-related cases. See,

 

e.q., New Kids on the Block v. News America Publishinql Inc., 745
F. supp. 1540 (C.D. Cal. 1990) ("New Kids I"}, aff'd, 971 F.zd 302
(9th Cir. 1992) ("New Kids II"); Polvdoros v. Twentieth Centurv Fox
Film Corp., 67 Cal. App. 4th 318, 323-25 (1997); Montana v. San
Jose Mercurv News, Inc., 34 Cal. App. 4th 790, 796 (1995); Dora v.
Frontline Video, Inc., 15 Cal. App. 4th 536, 545 (1993).

B. The First Amendment And Related Principles Favoring

Freedom OflExpression Bar Plaintiffs' First Through
Fourth Claims.

4. Unlike most right of publicity cases, which involve the
use of a name or likeness solely in an advertisement, the rights
alleged by Plaintiffs in their First through Fourth Claims are
outweighed by the public interest in free expression guaranteed by
the First Amendment. Accordingly, Plaintiffs cannot raise a
genuine issue for trial on their First through Fourth Claims and
summary judgment on these claims should be entered for A&F.

5. Under the First Amendment, "the right of publicity [does]
not . . . outweigh the value of free expression. Any other
conclusion would allow reports and commentaries . . . to be subject
to censorship under the guise of preventing the dissipation of the
publicity value of a person’s identity." Montana, 34 Cal. App. 4th
at 796 (citations and internal quotations omitted) (emphasis

added). This principle arises from the basic First Amendment

 

 

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requirement that "freedom of expression [is] the rule,“ Joseph
Burstyn, Inc. v. Wilson, 343 U.S. 495, 503 (1952), subject only to
"narrowly limited" exceptions. Chaplinskv v. New Hampshire, 315
U.S. 568, 571 (1942).

6. Because of the paramount importance of the First
Amendment, California Civil Code § 3344, the basis for Plaintiffs’
First Claim, expressly provides that "[f]or purposes of this
section, a use of a name, . . . photograph, or likeness in
connection with any news, public affairs, or sports broadcast or
account" is exempt from liability. Cal. Civ. Code § 3344(d)
(emphasis added); see al§g gg;a, 15 Cal. App. 4th at 545 (affirming
entry of summary judgment for defendants on First Amendment grounds
in action asserting common law and Section 3344 right of publicity
claims). For this same reason, the common law claims alleged in
Plaintiffs’ Second and Third Claims cannot arise from
"[p]ublication of matters in the public interest, which rest[] on
the right of the public to know and the freedom of the press to
tell it . . . ." ;g. at 542 (emphasis added). Plaintiffs’ Fourth
Claim under the Lanham Act is subject to these same First
Amendment-related limitations. New Kids I, 745 F. Supp. at 1543-
45.

7. Qg;a is a case with striking parallels to the present
action. The plaintiff in Qg;a, California surfer Mickey Dora
("Dora"), brought an action alleging right of publicity claims
under Civil Code § 3344 and the common law against the producers of
"The Legends of Malibu," a documentary film depicting the early
days of surfing. The documentary included photographsr film

footage and an audio interview of Dora. Notwithstanding the lack

 

 

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of Dora's consent to the use of his image, name and voice in the
film, the trial court granted summary judgment for defendants,
dismissing Dora's Section 3344 and common law claims, and the Court
of Appeals affirmed the judgment, on the First Amendment grounds
that surf-culture is newsworthy and a matter of public interest.
QQ;§, 15 Cal. App. 4th at 543 & 546.

8. Just like the film documentary in Qg£a, A&F's use of the
Photo for the editorial purpose of illustrating the Article is
equally protected by the First Amendment. See, e.q., Leidholdt v.
L.F.P.l InC., 860 F.2d 890, 895 (9th Cir. 1988), §§;§: denied, 489
U.S. 1080 (1989) (affirming dismissal on First Amendment grounds of
right of publicity claim based on publication of newsworthy photo);
Ault v. Hustler Maqazine, Inc., 860 F.2d 877, 883 (9th Cir. 1988),

cert. denied, 489 U.S. 1080 (1989) (same); Ann-Marqaret v. Hiqh

 

Societv Maqazine, Inc., 498 F. Supp. 401 (S.D.N.Y. 1980) (granting
summary judgment for defendants on right of publicity claim based
on the publication of newsworthy photo); see also Paqe v. Somethinq
Weird Video, 960 F. Supp. 1438, 1443-45 (C.D. Cal. 1996) (granting
summary judgment for defendants on right of publicity claim based
on publication of promotional artwork depicting plaintiff).

9. Even if Plaintiffs argue that the Photo served a
commercial purpose as well as illustrating the Article, their
argument fails to raise a triable issue: When pure speech and
commercial speech are "inextricably intertwined," the higher level
of First Amendment protection mg§; be applied. Rilev v. Nat'l Fed.
of the Blind, 487 U.S. 781, 796 (1988); Gaudiya Vaishnava Soc. v.
San Francisco, 952 F.2d 1059, 1064 (9th Cir. 1990) (following §il§y

in holding when "pure speech and commercial speech . . . [are]

 

 

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inextricably intertwined, the entirety must be classified as
noncommercial and we must apply the test for fully protected
speech").

10. To raise a genuine issue, Plaintiffs would have to
introduce substantial evidence that A&F's use of the Photo was
"exclusively for [defendant's] commercial gain." Leidholdt, 860
F.2d at 895 (emphasis added). In other words, Plaintiffs would be
required to establish that the Photo served ng "informative or
cultural" function at all, but instead "merely exploit[ed] the
individual[s] portrayed." See Midler v. Ford Motor Co., 849 F.2d
460, 462 (9th Cir. 1988) (emphasis added). This is because speech
that does something more than "merely" advertising a product or
service is fully protected by the First Amendment. Central Hudson
Gas & Electric Corp. v. Public Serv. Comm'n, 447 U.S. 557, 561
(1980) (defining commercial speech as "expression related solely to
the economic interest of the speaker and its audience") (emphasis
added); Nordvke v. Santa Clara Co., 110 F.3d 707, 710 (9th Cir.
1997); White v. Samsunq Electronics America, Inc., 971 F.2d 1395,
1401 n.3 (9th Cir. 1992) (noting that, except for claims based on
commercial ads, "the First Amendment hurdle will bar most right of

publicity claims").y

 

;/ Because of the distinction between purely commercial speech,
and speech that contains some protected "informative or cultural"
element, virtually every right of publicity decision that has
survived summary judgment in this Circuit has involved commercial
speech that did nothing more than propose a commercial transaction.
See e.q., Newcombe v. Adolf Coors Co., 157 F.3d 686 (9th Cir. 1998)
(print advertisement); Abdul-Jabbar v. General Motors Corp., 85
F.3d 407, 415 (9th Cir. 1996) (television commercial); White, 971
F.2d at 1401 n.3 (same); Midler, 849 F.2d at 463 (same).

 

 

 

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1 11. As a matter of law, A&F’s use of the Photo in this case

2 provides First Amendment protected information. See Dora, 849 F.2d

 

3 at 543-46; gag§, 960 F. Supp. at 1443-45; accord Polydoro , 67 Cal.
4 App. 4th at 323-25. While A&F’s use of the Photo may not be the
5 stuff of Pulitzer prizes, the Courts do not sit in judgment of the
6 merits of a defendant’s message. Hustler Maqazine v. Falwell, 485
7 U.S. 46, 55-56 (1988). Instead, there is a broad buffer zone
8 around all speech that serves an informative or cultural function.
9 lg.; Qgra, 849 F.2d at 543-46; Midler, 849 F.2d at 462. Speech
10 that entertains is entitled to as much First Amendment protection
11 as any other exposition of ideas. Schad v. Borough of Mt. Ephraim,
12 452 U.S. 61, 65 (1981); POlydOrOS, 67 Cal. App. 4th at 324; S_e§
13 also Cardtoons v. Major Leaque Baseball Players, 95 F.3d 959, 969
14 (10th cir. 1996).1/
15 12. Under Qg;a, A&F’s use of the Photo constituted speech
16 that, as a matter of law, was newsworthy, of public interest, and
17 fully protected under the First Amendment. Because of these First
18 Amendment considerations, Plaintiffs cannot raise genuine issues
19 for trial on their statutory and common right of publicity claims.
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22 4/ The fact that A&F is in business to earn money does not
transform its use of the Photo into unprotected commercial speech.
23 See, Joseph Burstvn, 343 U.S. at 501-02 ("That books, newspapers
and magazines are published and sold for a profit does not prevent
24 them from being a form of expression whose liberty is safeguarded
by the First Amendment"); Leidholdt, 860 F.2d at 895 ("[T]he
25 photograph accompanied an article whose purpose . . . was not
simply commercial. The fact that Hustler Magazine is operated for
26 profit does not extend a commercial purpose to every article within
it"); Polydoros, 67 Cal. App. 4th at 325 (holding that First
27 Amendment rights "[were] not diminished when [defendants]
advertised [and] then sold their work as mass public

28 entertainment").
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C. Plaintiffs' Firstl Second and Third Claims For Relief Are
Barred Bv Principles Of Federal Copyright Act Preemption.

13. Right of publicity claims, including claims under Civil
Code Section 3344, are regularly held to be preempted when (1) the
subject of the claim is a work fixed in a tangible medium of
expression that comes within the scope of copyright protection, and
(2) the right asserted under state law is equivalent to the
exclusive rights granted under the Copyright Act. §§§, §lgl, fleet
v. CBSl Inc., 50 Cal. App. 4th 1911, 1919 (1996) (affirming summary
judgment where right of publicity claims were preempted); Baltimore
Orioles, Inc. v. Major Leaque Baseball Plavers Assoc., 805 F.2d
663, 674~79 (7th Cir. 1986), g§l§. denied, 480 U.S. 941 (1987)
(same); Motown Record Corp. v. Georqe A. Hormel & Co., 657 F. Supp.
1236, 1240-41 (C.D. Cal. 1987) (granting summary judgment as to
right of publicity claim on preemption grounds); Ahn v. Midwav qu.
gg;pl, 965 F. Supp. 1134, 1137-38 (N.D. Ill. 1997) (same).

14. In the present case, Plaintiffs' state law right of
publicity claims are based upon A&F's use of the Photo. By
definition, the Photo is a "work fixed in a tangible medium of
expression" that is "within the subject matter or scope of
copyright protection." 17 U.S.C. §§ 102(a){5) & 301(a); see
Playbov Enterprises. Inc. v. Starware Pub. Corp., 900 F. Supp. 433,
437 n.4 (S.D. Fla. 1995). Although Plaintiffs may assert that "a
person's name, voice, likeness, and overall persona" are not
copyrightable (§e§ El§§t, 50 Cal. App. 4th at 1919), once
Plaintiffs' images became fixed in this tangible medium of
expression (ll§l, the Photo), they came within the scope and

subject matter of copyright law protection. ld. at 1919-20;

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Baltimore Orioles, 805 F.2d at 668 and 674-76; Motown Record, 657

 

 

F. Supp. at 1240-41; §hn, 965 F. Supp. at 1138. Accordingly, the
first prerequisite to copyright preemption is satisfied. §§§
§lg§;, 50 cal. App. 4th at 1919-20.

15. The second element of preemption, which examines whether
the rights granted under state law are "equivalent" to any of the
exclusive rights within the general scope of copyright, is also
satisfied here. Plaintiffs seek compensation for A&F’s
"unauthorized" display of the Photo.y These claims are
"equivalent" to the exclusive right of reproduction afforded under
17 U.S.C. § 106. Because the essence of this claim is the
unauthorized reproduction of a copyright-protected work, it is

plain that the claim is "equivalent" to copyright and is preempted.

See, e.g., Fleet, 50 Cal. App. 4th at 1923; Motown Record, 657 F.

Supp. at 1240; Ahn, 965 F. Supp. at 1137-38; Baltimore Orioles, 805
F.2d at 667 n.27.

16. In short, Plaintiffs' right of publicity claims under
Section 3344 and the common law are premised on defendant’s claimed
unlawful reproduction of a copyrightable work. These claims are
preempted by the Copyright Act.

D. Plaintiffs' First Claim Under Section 3344 Is Improper

Under Choice Of Law Princi les As To Plaintiffs Geor e
Downing, Rick Steere, Richard (Buffalo) Keaulana, Ben
Aipa And Joev Cabell.

17. Plaintiffs George Downing, Rick Steere, Richard (Buffalo)

Keaulana, Ben Aipa and Joey Cabell reside in Honolulu, Hawaii

(collectivelyr "the Foreign Plaintiffs"). Amd. Cmpt. 11 1-7.

 

 

 

§/ Of course, A&F's use of the Photo actually was licensed ~ not

by Plaintiffs, but by the copyright proprietor of the Photo.

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Notwithstanding this, they filed their action in Los Angeles and
seek application of California law, most particularly in their
invocation of California Civil Code § 3344. Under basic choice of
law principles, their reliance on California law is misplaced.

18. Although this action is pending in federal court,
California choice of law rules are governing. See, e.g., Matter of
Yagman, 796 F.2d 1165, 1170 (9th Cir. 1986); Page V. SOmething
weird Video, 908 F. Supp. 714, 716 (C.D. Cal. 1995). California
uses a "governmental interest" approach to determine choice of law.
Yagman, 796 F.2d at 1170; §gg§, 908 F. Supp. at 716. Thus,
although the federal courts have a "preference" for using the law
of their forum state (§g§, e. ., Yagman, 796 F.2d at 1171), this
"preference" is not applied if the "governmental interest" test is
not satisfied. The "governmental interest" approach under
California law requires a three-step analysis:

[The Court] must first consider whether the two

states' laws actually differ; if so, [the

Court] must examine each state's interest in

applying its law to determine there is a "true

conflict"; and if each state has a legitimate

interest [the Court] must compare the

impairment to each jurisdiction under the

other's rule of law.
ArnO v. Club Med, InC., 22 F.3d 1464, 1467 (9th Cir. 1994); E§g§,
908 F. Supp. at 716.

19. In applying the "governmental interest" test to the
present case, significant differences stand out between the laws of

California and Hawaii: California has enacted Civil Code § 3344,

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which (a) allows successful plaintiffs to recover statutory
damages, actual damages, profits and punitive damages and (b)
authorizes the award of attorneys’ fees to the prevailing party.
Hawaii has no analogous statute, and only recognizes a common law
tort of invasion of privacy based on commercial appropriation of a
person's name or likeness. Ferqerstrom v. Hawaiian Ocean View
EStateS, 50 HaW. 374, 441 P.2d 141 (1968)4 Unlike SeCtion 3344,
neither Fergerstrom nor Hawaii's other case law and statutory
authorities make any provision for the successful plaintiff to
recover statutory damages, profits or attorneys' fees.

20. Under the second step of the "governmental interest"
test, it is clear that California has ng state interest in
protecting the publicity rights of Hawaiian plaintiffs. For
example, under very analogous circumstances, the Ninth Circuit,
applying California law, stated that "New York has ‘absolutely no
interest in the reputation of a California citizen.'" Yagman, 796
F.2d at 1171. This same reasoning, applied in this caser mandates
the conclusion that California has "absolutely no interest" in the
reputation of a Hawaiian citizen. §eg ld.

21. Finally, even if it is assumed for purposes of argument
that California ls an "interested" state, Hawaii is the
jurisdiction whose interest would be more "impaired if its law were
not applied " gee gag§, 908 F. Supp. at 716. The state in which a
plaintiff resides and works, which is necessarily also the state in
which damage to the plaintiff’s reputation, if any, would have
occurred, is generally the state whose interest would be more
impaired if its law were not applied. Yagman, 796 F.2d at 1171;

Page, 908 F. Supp. at 717; see also 5 B. Witkin, Summary of

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(stating that in invasion of privacy actions the law of the state
of the plaintiff's domicile is generally applied).

22. Based on the above authorities, as a matter of law, the
Foreign Plaintiffs can raise no genuine issues on their Cal. Civ.
Code § 3344 claims.

E. Plaintiffs' Lanham Act Claim Is Barred By The Doctrine Of
Nominative Use.

23. Generally, the Ninth Circuit applies a multi-factor
"likelihood of confusion test" to Lanham Act § 43(a) claimsl
including right of publicity claims under Section 43(a). th;§,
971 F.2d at 1400 (citing AMF Inc. v. Sleekcraft Boats, 599 F.2d
341, 348-49 (9th Cir. 1979)). However, in New Kids II, 971 F.2d at
308, the Ninth Circuit recognized that the "nominative use of a
mark - where the only word reasonably available to describe a
particular thing is pressed into service - lies outside the
strictures of trademark law." ld.; see al§g In re Dual-Deck Video
Cassette Recorder Antitrust Lit., 11 F.3d 1460, 1467 (9th Cir.
1993); Mattel Inc. v. MCA Records, Inc., 28 F. Supp. 2d 1120, 1141-
43 (C.D. Cal. 1998).

24. The New Kids case involved two newspapers that conducted
"900" number telephone polls concerning their readers’ reactions to
the musical group "New Kids on the Block." The newspapers charged
their readers 50 to 95 cents per minute for responding to the poll.
The band ~ which had its own competing "900" numbers for its fans ~
filed Lanham Act claims against the newspapers. The district court
granted summary judgment for defendants on First Amendment grounds.
New Kids I, 745 F. Supp. at 1543-45. On appeal, the Ninth Circuit

affirmed on the grounds that the newspapers' use of the band name

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constituted a nominative fair use because the band's name was used
to describe plaintiff’s product (l_.§_L the band) rather than
defendants' product (ll§l their reader polls). New Kids II, 971
F.2d at 306-09.

25. The Ninth Circuit in New Kids II set out a three-part
test for a "commercial user . . . [to be] entitled to a nominative
fair use defense":

First, the product or service in question must
be one not readily identifiable without use of
the trademark; second, only so much of the mark
or marks may be used as is reasonably necessary
to identify the product or service; and third,
the use must do nothing that would, in
conjunction with the mark, suggest sponsorship
or endorsement by the trademark holder.
lg. at 303.

26. In the present case, A&F’s use of the Photo was
"nominative" in the same manner as defendants' purported
"infringements" in New Kids II, Dual-Deck and Mattel. A&F did ngt
utilize the Photo as a "trademark" by, for example, emblazoning it
on the cover of the Quarterly, featuring it in any print ads or in-
store displays, or adopting it as a logo or insignia on any of
A&F’s merchandize or labels. Instead, A&F used the Photo to
illustrate the Article and to depict surfing's history in a manner
that would be "readily identifiable" to A&F's readers. A&F used
only so much of Plaintiffs' purported "marks" (llgl, a single
reproduction of the Photo) as was "reasonably necessary" to fulfill

A&F's editorial purpose. Finally, A&F's reproduction of the Photo

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'contains nothing to suggest that any of the Plaintiffs now sponsor
or endorse products being offered for sale by A&F more than thirty
years after the Photo was taken.

27. In short, as a matter of law, A&F's utilization of the
Photo constituted a nominative use that is not violative of the
Lanham Act.

F. Plaintiffs' Lanham Act Claim Is Barred Because No

Evidence Exists Of Likely Confusion.

28. Apart from the issue of nominative fair use, to raise a
genuine issue for trial, each plaintiff must introduce substantial
evidence of likelihood of confusion. thte, sup;a, 971 F.2d at
1399-1400. In right of publicity cases, in a manner similar to
trademark cases, this determination is made under a multi-factor
test based on the: (1) strength of the plaintiffs' mark; (2)
relatedness of the goods; (3) similarity of the marks; (4) evidence
of actual confusion; (5) marketing channels used; (6) degree of
purchaser care; and (7) defendant’s intent.y lg. at 1400 (citing
AM§, §pp;§, 971 F.2d at 348-49). Because this case involves
substantial First Amendment issues (§g§ Section IV, §pp;a),
Plaintiffs' showing of likely confusion must be "particularly
compelling." Twin Peaks Productions v. Publications Int'l, 996
F.2d 1366, 1379 (2d Cir. 1993); No Fear, Inc. v. Imaqine Films,
lngl, 930 F. supp. 1381, 1333-84 (c.D. cal. 1995).

29. In the present case, Plaintiffs fail to raise genuine

issues for trial under these likelihood of confusion factors:

 

§/ A final factor that is generally considered in trademark
cases, likelihood of expansion of product lines, "does not appear
to be apposite to . . . celebrity endorsement case[s] " White, 971
F.2d at 1401.

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1 a. Strenqth of the mark. In right of publicity type

2 cases under the Lanham Act, the "mark" refers to the plaintiff’s

3 "persona." th§g, 971 F.2d at 1400. "The 'strength' of the mark

4 refers to the level of recognition the celebrity enjoys among

5 member of society." ld. In the present case, Plaintiffs have no

6 evidence, individually or collectively, that their names and images
7 from a 35-year old surf photo were well-known to the public to whom
8 the Quarterly was directed. Accordingly, their "marks" or

9 "celebrity identities" are weak.

10 b. Relatedness of qoods. "In cases concerning

11 confusion over celebrity endorsement[s], the plaintiff’s 'goods'

12 concern the reasons for or source of the plaintiff’s fame." tht§,
13 971 F.2d at 1400. In the present case, accordingly, plaintiff’s

14 "goods" consist of their surfing prowess over 35-years ago, in the
15 early 1960’s. These "goods" are not "closely related" to A&F’s

16 "goods," which consist of casual sportswear clothing.

17 c. Similaritv of the marks. The Photo, which is

18 reproduced in the Quarterly in grainy black and white, was taken

19 over 35 years ago and depicts Plaintiffs as they looked in a bygone
20 era. The Photo does not depict Plaintiffs as they now look, 35
21 years later. Accordingly, this factor does not raise a genuine
22 issue for trial.

23 d. Evidence of actual confusion. Plaintiffs have

24 produced no evidence of consumers who have been "confused" into

25 believing that Plaintiffs supposedly "endorsed" A&F’s merchandise.

26 See White, 971 F.2d at 1400. The absence of such evidence proves

 

27 that consumers have not been confused. See McGreqor-Doniqer, 599

28 F.2d at 1126, 1136 (2d Cir. 1979). Likewise, Plaintiffs’ failure

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to present survey evidence is proof that no confusion exists. §l§l
Oriqinals, Inc. v. Stride Rite Corp., 656 F. Supp. 484, 490
(S.D.N.Y. 1987). Accordingly, this factor too weighs against a
finding of likelihood of confusion.

e. Marketinq channels. Plaintiffs have produced no
evidence that they have utilized their images in other marketing

channels similar to the Quarterly. See White, 971 F.2d at 1400.

 

Accordingly, this factor too weighs against a finding of likelihood
of confusion.

f. Deqree of consumer care. Generally, consumers are
held to exercise a low level of consumer care when items are
inexpensive, when they are impulse purchases, or when the consumers
in question are children. See McGreqor-Doniqer, 599 F.2d at 1137-
38. In contrast, in the present case, the items offered for sale
in the Quarterly are not inexpensive and care must be taken by
consumers to correctly order the proper item, color and size. As a
result, the level of consumer care here weighs against a finding of
likelihood of confusion.

g. Defendant's intent. In determining the issue of
intent, "[t]he relevant question is whether the defendants
’intended to profit by confusing consumers' concerning the
[alleged] endorsement . . . ." tht§, 971 F.2d at 1400. In the
present case, no evidence whatsoever exists that A&F intended to
profit by "confusing consumers." To the contrary, the sole
evidence is that A&F "intended" for the Photo to illustrate the
Article and to depict the early years of surfing.

30. In short, the likelihood of confusion factors that must

be examined under White establish that Plaintiffs, individually and

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collectivelyr cannot raise triable issues on their Lanham Act
claims. This conclusion is buttressed by the substantial First
Amendment issues in this case, which weigh in balance against a
finding of likely confusion. §g§ No Fear, 930 F. Supp. at 1383-84.

G. Plaintiffs' Claims For Moneta Recove Under The Lanham
Act Are Barred Because No Evidence Exists Of Actual

Confusion Or Wrongful Intent.

31. Plaintiffs’ Lanham Act claims are solely claims for
monetary damages. Although injunctive relief is also available
under the Lanham Act, such relief is not relevant here because A&F
has completed its distribution of the Magazine and is making no
additional usages of the Photo. FACTS, §gp;a, 1 8. Thusr any

claim for injunctive relief would be moot. See In Re Circuit

 

Breaker Litigation, 860 F. Supp. 1453, 1456 & n.4 (C.D. Cal. 1994),
glllg, 106 F.3d 894 (9th Cir. 1997).

32. With respect to Plaintiffs’ claims for monetary relief,
Plaintiffs' cannot raise genuine issues for trial regarding either
their purported claims for "profits" or "damages":

a. No recovery of "profits." Even assuming, contrary
to the facts, that A&F’s utilization of the Photo in the Magazine
resulted in "profits," it is basic that the recovery of "profits"
under Section 43(a) of the Lanham Act requires proof of intentional
wrongful conduct by the defendant. See, e.q., Faberqe, Inc. v.
Saxonv Products, Inc., 605 F.2d 426, 429 (9th Cir. 1979); Maler
Brewinq Co. v. Fleischmann Distillinq Corp., 390 F.2d 117, 123-24
(9th Cir. 1968). In the present case, their exists no evidence

whatsoever that A&F was attempting to capitalize on the supposed

 

 

"fame" of Plaintiffs. Indeed, the evidence is to the contrary:

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A&F intended that the Photo would illustrate the Article and depict
the early years of surfing.

b. No recovery of "damages." "In a suit for damages
under section 43(a) [of the Lanham Act], . . . actual evidence of
some injury resulting from the deception is an essential element of
the plaintiff’s case." Harper House, Inc. v. Thomas Nelson, Inc.,
889 F.2d 197, 209-10 (9th Cir. 1989) (emphasis added in part);
accord Brunswick Corp. v. Spinit Reel Co., 832 F.2d 513, 525 (lOth
Cir. 1987). Such "[a]ctual consumer confusion may be shown by
direct evidence, a diversion of sales or direct testimony from the
public, or by circumstantial evidence such as consumer surveys."
Brunswick, 832 F.2d at 525. In the present case, however,
Plaintiffs have no evidence of confused consumers or other economic
harm cause by A&F's use of the Photo.

33. Because Plaintiffs cannot raise a genuine issue as to
monetary relief under their Fourth Claim, and injunctive relief is

mootl the Fourth Claim should be dismissed.

H. Plaintiffs' Fifth Claim For Negligence Is Contrary To
Ninth Circuit Law.

34. The Ninth Circuit recently concluded that negligence
claims cannot arise from advertising that allegedly violates
publicity rights. Newcombe, 157 F.3d at 695. As noted in
Newcombe, it is impossible for a negligence claim to arise from the
supposedly "negligent" creation of an ad because "there [is] simply
no damage from the creation of [an] ad; the only alleged damages
result[] from publication." ld. Likewise, no claim can be
asserted for "negligent" publication of an ad because "negligent

publication is essentially the same as either a claim for

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misappropriation or for defamation, and . . . the constitutional
and statutory principles regarding those standards cannot be
circumvented by artful pleading." ld. Thus, under Newcombe,
Plaintiffs' negligence claim is improper and should be dismissed.
ld.; accord Polydoros, 67 Cal. App. 4th at 326 (holding that right
to free expression under the First Amendment precludes negligence
claim).y

I. Plaintiffs' Sixth Claim For Defamation Is Unsu orted B

Any Evidence Of Defamatory Statements "Of And Concerning"
Plaintiffs.

35. Under California Civil Code § 45a, a plaintiff may only
prevail on a claim for libel if the publication is libelous on its
face (libel per §§) or if explanatory matter and special damages
are pleaded and proven (libel per gugg). 5 Witkin, Torts, § 481 at
565; Newcombe, 157 F.3d at 694. The determination of libel per §§
is one of law, and is measured by the effect the publication would
have on the mind of an average reader. Newcombe, 157 F.3d at 695.
The libel must also be "of and concerning" the plaintiff. Blatty
v. New York Times Co., 42 Cal. 3d 1033, 1042 (1986).

36. Here, the Spring Edition contains ng statement libelous
on its face that is "of and concerning" Plaintiffs. Instead,
Plaintiffs' defamation claim is premised on the allegations that
the inclusion of "numerous models, primarily male, in a variety of
lewd or suggestive poses" in the Spring Edition has "subjected

[Plaintiffs] to ridicule, obloquy, and causes them to be shunned or

 

1/ Plaintiffs' Fifth Claim for negligence is also subject to
dismissal on federal Copyright Act preemption grounds. gee Motown
Record, supra, 657 F. Supp. at 1240 (finding negligent interference
claim arising from purported violation of publicity rights to be
preempted by Copyright Act); see also Section C., supra.

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avoided, and has a tendency to injure them in connection with their
occupations." Amd. Cmpt. 11 62-63.

37. Notwithstanding Plaintiffs' overheated and inaccurate
descriptions, as a matter of law no "average person" viewing the
Spring Edition could find it libelous per se (§ge Cal. Civil Code
§ 45) that the 35-year old Photo of Plaintiffs is contained in the
same publication with A&F’s decidedly ngn-graphic models. To the
contrary,

magazines with sexually explicit text and

photographs . . . are a part of our

contemporary scene. Successful candidates for

the Presidency of the United States consent to

interviews in magazines of the same genre as

Hustler. we think that plaintiff is not

entitled to damages merely because there is an

oblique reference to him in a magazine which he

believes to be in bad taste.
Handelman v. Hustler Maqazine, Inc., 469 F. Supp. 1053 (S.D.N.Y.
1979); accord Falwell v. Penthouse Int'l, Ltd., 521 F. Supp. 1204,
1209 (W.D. Va. 1981) (holding that publication of an interview and
photo of plaintiff in Penthouse magazine did not give rise to an
"implication of cooperation" that was defamatory).

n 38. Moreover, Plaintiffs have utterly failed to meet the
alternative requirements under Civil Code § 45a for libel per gngd.
Plaintiffs have not alleged and have no proof of (a) "explanatory
matter, such as an inducement, innuendo or other extrinsic fact" or
(b) "special damage as a proximate result thereof." _g§ 5 Witkin,

Torts, § 493 at 580 ("[w]here words or other matters are of

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2 light of extrinsic circumstances . . ., the plaintiff must plead
3 and prove that they were used in a particular meaning which makes

4 them defamatory") (emphases in original); see also Gomes v. Fried,

 

5 136 Cal. App. 3d 924, 939-40 (1982) (holding that "special damages"
6 are damages "suffered in respect to [plaintiff's] property,

7 business, trade, profession or occupation" which must be "pled and
8 proved precisely").

9 39. In short, Plaintiffs cannot raise a genuine issue as to
10 their defamation claim.
11 40. The inclusion of any uncontroverted fact as a conclusion
12 of law, and/or the inclusion of any conclusion of law as an
13 uncontroverted fact shall not affect the validity of any such

14 uncontroverted fact or conclusion of law._

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16 DATED: January 14, 2000

 

 

 

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18 JOEL ’MccABE sMITH V/
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19 LINCOLN D. BANDLOW
LEOPOLD, PETRICH & SMITH

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21 ABERCROMBIE & FITCH

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1 PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of

4 California. I am over the age of 18 years and not a party to the
within action; my business address is 2049 Century Park East, Los
5 Angeles, California 90067-3274.

6 On January 14, 2000, I served the foregoing document described
as DEFENDANTS' STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
7 LAW IN SUPPORT OF HOTION FOR SUMMARY JUDGMENT OR, IN THE
ALTERNATIVE, MOTION FOR SUHHARY ADJUDICATION OF ISSUES On the

8 interested parties in this action by placing a true copy thereof
enclosed in a sealed envelope addressed as follows:

9
Brent H. Blakely, Esq.
10 HEWITT & MCGUIRE, LLP
865 Manhattan Beach Boulevard, Suite 204
11 Manhattan Beachr California 90266
12 I caused such envelope with postage fully prepaid to be placed

in the United States mail at Los Angeles, California. I am

13 "readily familiar" with the firm’s practice of collection and
processing correspondence for mailing. It is deposited with the
14 U.S. postal service on that same day in the ordinary course of
business. I am aware that on motion of party served, service is
15 presumed invalid if postal cancellation date or postage meter date
is more than one day after date of deposit for mailing in

16 affidavit.

 

 

 

17 An additional copy of said document was sent on the same date
to each of the addressees stated above at the specified

18 telefax numbers.

19 Executed on January 14, 2000, at Los Angeles, California.

20 (State) I declare under penalty of perjury under the laws of
the State of California that the above is true and correct.

21

X (Federal) I declare that I am employed in the office of a

22 member of the bar of this Court at whose direction the service
is made.

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24 Kathryn K. Toyama k M¢LMA F~j
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